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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff/Respondent,

v.                                                   No. CV 13-0966 RB/LAM
                                                         CR 10-3160 RB
MARIO DEVONNE WASHINGTON,

               Defendant/Movant.


                                            ORDER
       THIS MATTER is before the Court on Defendant/Movant’s (hereinafter “Defendant”)

Motion to Amend the Memorandum of Law in Support of the Petition for Writ of Habeas

Corpus (Doc. 5); Motion to Appoint Counsel (Doc. 22); and three motions for discovery --

Motion to Produce (Doc. 4); Motion for Order Allowing Payment for the Transcripts at

Government Expense (Doc. 18); and Motion to Compel (Doc. 23). Having considered the

motions and record of the case, the Court FINDS that Doc. 5 shall be GRANTED, and that

Docs. 4, 18, 22 and 23 shall be DENIED without prejudice.

       Defendant asks to amend his memorandum of law in support of his § 2255 motion to

submit information related to his appeal to the Tenth Circuit in his underlying criminal case.

[Doc. 5]. Defendant filed the addendum as [Doc. 6]. No response to the motion has been filed

and the time for doing so has passed. Therefore, the Court finds that this motion is well-taken and

shall be granted.

       Defendant requests the appointment of counsel in this proceeding [Doc. 22]; however,

there is generally no federal constitutional right to counsel in a proceeding brought under
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28 U.S.C. § 2255. See Pennsylvania v. Finley, 481 U.S. 551, 555 (1987) (“We have never held

that prisoners have a constitutional right to counsel when mounting collateral attacks upon their

convictions, . . . and we decline to so hold today.”) (citation omitted). “Except when the district

court determines that an evidentiary hearing is required, the decision to appoint counsel is left to

the sound discretion of the district court.”       United States v. Moya-Breton, No. 11-4116,

2011 WL 4448857, 439 Fed. Appx. 711, 716 (10th Cir. Sept. 27, 2011) (unpublished) (citation

and internal quotation marks and brackets omitted). As there is no need for an evidentiary

hearing in this case at this time, the Court finds that appointment of counsel is unnecessary, and the

Court will deny Defendant’s motion to appoint counsel without prejudice.

       Defendant also seeks discovery under Rule 6 of the Rules Governing Section 2255

Proceedings for the United States District Courts. [Doc. 4]; see also [Docs.18 and 23]. Rule 6

states that the Court may, for good cause, authorize a party to conduct discovery, and the

Tenth Circuit has explained that “good cause is established where specific allegations before the

court show reason to believe that the petitioner may, if the facts are fully developed, be able to

demonstrate that he is entitled to relief.” Moya-Breton, 439 Fed. Appx. at 715-16 (citation and

internal quotation marks and brackets omitted).        Here, Defendant states that he needs the

discovery to obtain information regarding a phone that Defendant alleges “is solely the single

piece [of evidence] that was used to tie the Conspiracy to [Defendant,]” and that the phone “likely

either does not even exist, or is not in any condition to even be traced using the GPS technology

allegedly used to locate the phone.” [Doc. 23 at 2]. The Court finds that this does not establish

good cause for discovery at this time because Defendant’s discovery requests are not tailored to

information regarding the phone and, moreover, Defendant fails to state with any specificity how



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the discovery may develop facts to support his allegations. The Court, therefore, finds that

Defendant does not explain how the facts that may be developed through the requested materials

would entitle him to relief. Accordingly, the Court will deny Defendant’s motions for discovery

without prejudice.

       IT IS THEREFORE ORDERED that Defendant’s Motion to Amend the Memorandum

of Law in Support of the Petition for Writ of Habeas Corpus (Doc. 5) is GRANTED.

       IT IS FURTHER ORDERED that Defendant’s Motion to Produce (Doc. 4); Motion for

Order Allowing Payment for the Transcripts at Government Expense (Doc. 18); Motion to

Appoint Counsel (Doc. 22); and Motion to Compel (Doc. 23) are DENIED without prejudice.

       IT IS SO ORDERED.



                                           ______________________________________
                                           LOURDES A. MARTÍNEZ
                                           UNITED STATES MAGISTRATE JUDGE




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